              Case 6:10-bk-18867-ABB              Doc 14      Filed 12/23/10       Page 1 of 2



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

IN RE:

Sherry Jacqueline Bertucelli

         Debtor(s).                                CASE NO.          10-18867-ABB
                                                   CHAPTER           7
__________________________________/

                 NOTICE OF WITHDRAWAL OF MOTION FOR RELIEF FROM STAY
                                FILED NOVEMBER 29, 2010

         Comes now, BAC HOME LOANS SERVICING, LP, its successors and/or assigns, and states that it is

withdrawing its Motion for Relief from Stay (Doc # 11), dated November 29, 2010.



                                                           Florida Default Law Group, P.L.
                                                           Post Office Box 25018
                                                           Tampa, FL 33622-5018
                                                           (813) 251-4766 Ext: 3543
                                                           Fax: 813-251-1541
                                                           Email: bkatt@defaultlawfl.com

                                                           By: /s/ NOAH STEFAN BEUGE
                                                           Noah Stefan Beuge
                                                           Florida Bar No. 68234
                                                           ATTORNEY FOR BAC HOME LOANS
                                                           SERVICING, LP




                                                                 Serial: 16459724
 FILE_NUMBER: B10099695                                          DOC_ID: M013001


 *B10099695*                                                     *M013001*
              Case 6:10-bk-18867-ABB                Doc 14       Filed 12/23/10        Page 2 of 2



                                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing Notice of Withdrawal of Motion for Relief from Stay

has been furnished by regular U. S. Mail to all parties listed below on this 23 day of December, 2010.

Sherry Jacqueline Bertucelli
3827 E. Kaley Avenue
Orlando, FL 32812

Cindy Tendler Bonsignori
10081 Paradise Blvd.
Treasure Island, FL 33706


         I HEREBY CERTIFY that a copy of the foregoing Notice of Withdrawal of Motion for Relief from Stay

has been furnished by Electronic Mail to all parties listed below on this 23 day of December, 2010.


Carl L Griffin
2223 Curry Ford Road
Orlando, FL 32806

Leigh R. Meininger, Trustee
Post Office Box 1946
Orlando, FL 32802-1946




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                                                              By: /s/ NOAH STEFAN BEUGE
                                                              Noah Stefan Beuge
                                                              Florida Bar No. 68234
                                                              ATTORNEY FOR BAC HOME LOANS
                                                              SERVICING, LP
